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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA J 8

DESIGNATION FORM

OAS by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to ihe appropriate calendar)

Address of Plaintiff: 36/7 femgf Faro AVE Pie) : La, pA ~1 44 a¥Y

Address of Defendant: £3 Yi] iJ Hi Cay AYE. pA bi pir 19) Ys

y?
Place of Accident, Incident or Transaction: PLR L A pa ADE uy “3

RELATED CASE, IF ANY: [| POrSO

case Number: OHS GIT 13 swteekSH iD: Haehis vite teminaea: 24/44 J pe

Civil cases are deemed related when Fes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ sof
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No [ik
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No [ey
numbered case pending or within one year previously terminated action of this court?

4, 1s this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No lA
case filed by the same individual?

I certify that, to my knowledge, the within case ois / (isnot related to any case now pending or within one year previously terminated action in

this court except as noted above,
pars 2/24 J 1 & Wg aarell A

Attorfey-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

CIVIL: (Place av in one category only)

Federal Question Cases: Diversity Jurisdiction Cases:

A. B
[J 1. Indemnity Contract, Marine Contract, and All Other Contracts (1 1. Insurance Contract and Other Contracts
Ci 2. FELA F'] 2. Airplane Personal Injury
CI] 3. Jones Act-Personal Injury E] 3. Assault, Defamation
LI 4. Antitrust [] 4. Marine Personal Injury
H 5. Patent fF] 5. Motor Vehicle Personal Injury
6 Labor-Management k Relations EF] 6. Other Personal Injury (Please specify):

Le’ 7. Civil Rights * AH F] 7. Products Liability
(1 8. Habeas Corpus fF] 8. Products Liability — Asbestos

+9. Securities Act(s} Cases C] 9. All other Diversity Cases

¢ ee Social Security Review Cases (Please specify):
r 11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION
{The effect of this certification is to remove the case from eligibility for arbitration.)

IL, , counsel of record or pro se plaintitf, do hereby certify:

FO rn to Local Civil Rute 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

DATE:

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A triai de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

iA ¥ymbwo LEE : CIVIL ACTION
. : 18 914¢
COMM s5 (4 Mer of 38 NO. A 16]

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filmg the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. (6)

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special
management cases.} ( )

(f) Standard Management — Cases that do not fall into any one of the other tracks. ( )

faq) BaymdsiD> LEE 16-5 4 OSS

Date Pro Se Plaintiff
2 69394-3756 Leéayaiw0- [9S Gmail com
Telephone FAX Number E-Mail Address

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Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) in all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure forrandom assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
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a Ee

“Wh Vino LEE

(In the space above enter the full name(s) of the plaintiff{s).)

- against -
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Lady YHoma.s
AND@eA Ve og Lo hice
THRs Auta salse compa y
Uddg 12 Hakhis JS-3-rondd

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18 3161

COMPLAINT

Jury Trial: 0 Yes a no

(check one}

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CHaples Lee

wAthdive!, LEE

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(In the space abave enter the full name(s) of the defendani(s). Ifyou
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names, The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I. Parties in this complaint:

A. List your name, address and telephone number. If you are presently in custody, include your identification
number and the name and address of your current place of confinement. Do the same for any additional
plaintiffs named. Attach additional sheets of paper as necessary.

Plaintiff Name

KAvon iniy LEE

Street Address

39,7 Fennle forty AVE:

County, City

PHILA pA.

Fi 24

State & Zip Code

Ql: 3244-3756

Telephone Number

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B. List all defendants. You should state the full name of the defendants, even if that defendant is a
government agency, an organization, a corporation, or an individual. Include the address where each
defendant can be served. Make sure that the defendant(s) listed below are identical to those contained in
the above caption. Attach additional sheets of paper as necessary.

Defendant No. | Name Cc Ue isf/Aal Sams
Street Address 39/ y () {LEX & Zz. B. \) ®
County, City PLMIERA i p A é LF t 3 |

State & Zip Code

Defendant No. 2 Name + J fu UE RH Cec. SA C. Compl Aidt ort

Street Address SHaee sovtt al. SQURME
County, City PAiLa, pA iGpo7- BYES
State & Zip Code

Defendant No. 3 Name SHitled MAY Lec
Street Address SCY 9. Oi ‘Lltwks AVE -
County, City p Hila
State & Zip Code p A_- LF (¢43

Defendant No. 4 Name L LsA Tveey Ykbes Ads LES We
Street Address 9.3%) tJ er Y AVE
County, City e K.. £ A
State & Zip Code PA. FI 43

IL Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.
§ 1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 is a diversity of citizenship case.

A. What is the basis for federal court jurisdiction? (check all that apply)
(] Federal Questions 0 Diversity of Citizenship

B. If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at
issue?

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Cc. If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiff(s) state(s) of citizenship

Defendant(s) state(s) of citizenship

TEE. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
include further details such as the names of other persons involved in the events giving rise to your claims. Do not
cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
separate paragraph. Attach additional sheets of paper as necessary.

A. Where did the events giving rise to your claim(s) occur? Son wes Philadel Hila
S6Y4A willaws AVE,

B. What date and approximate time did the events giving rise to your claim({s} occur?

c. Fac: I As AWNacken By cileisdias Gemas ZL ostet+ $2

What

happened ~_flocpNad. My Jdaihulues wee A Feaduce shelh Asi
A its bet eck.

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cMaistiad Avo (dts mother gt AusAy wide
iY AvP Also ps lice WERE ie Cynialy ¢Uerr V¥&
id wAs A pats CoNsplLeZacy.:

we | id pits ost Abst EVERYONE

involved?

Who ese Us mater aud tis sJs¢ er.

happened?

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IV. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,

you required and received. wourast +o MERCY Hospital. Ye
AVE Me VA mec PACE Arss C 1 cele. OXGenL
‘Level, Aso & NAS A Castsenaction ow

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v. Relief:

- State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and

the basis for such compensation.

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J declare under penalty of perjury that the foregoing is true and correct.

Signed this oe. y day of J VJ Ly , 20 i ge

Signature of Plaintiff Dartmorl Ripe

Mailing Address 3 di 7 \ FreAdlKfore AVE,
pH SA PA. 193 Y

Telephone Number al 6 7 - 3 9 f “3 746

Fax Number (if yeu have one}

E-mail Address LEE LAYMse>. 195% Ae ga Ae COMM

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
provide their inmate numbers, present place of confinement, and address.

For Prisoners:

I declare under penalty of perjury that on this ay day of : , 20 Jam delivering

this complaint to prison authorities to be mailed to the Clerk’s Office of the United States District Court for the
Eastern District of Pennsylvania.

Signature of Plaintiff:

Inmate Number

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